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  8                          UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
      UNITED STATES OF AMERICA,               )       Case No.: ED21-0009M
 11                                           )
                          Plaintiff,          )       ORDER OF DETENTION PENDING
 12                                           )       FURTHER REVOCATION
             v.                               )       PROCEEDINGS
 13 ALBERTO SOLIS,                            )       (FED. R. CRIM. P. 32.1(a)(6); 18
                                              )       U.S.C. § 3143(a)(1))
 14                                           )
                          Defendant.          )
 15                                           )
 16         The defendant having been arrested in this District pursuant to a warrant
 17 issued by the United States District Court for the SOUTHERN District of
 18 CALIFORNIA for alleged violation(s) of the terms and conditions of probation or
 19 supervised release; and
 20         Having conducted a detention hearing pursuant to Federal Rule of Criminal
 21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
 22 A. (X)          The defendant has not met his/her burden of establishing by clear and
 23                 convincing evidence that he/she is not likely to flee if released under
 24                 18 U.S.C. § 3142(b) or (c). This finding is based on the following:
 25            (X)     information in the Pretrial Services Report and Recommendation
 26            (X)     information in the violation petition and report(s)
 27            (X)     the defendant’s nonobjection to detention at this time
 28            ()      other:


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  1           and/ or
  2 B. (X)    The defendant has not met his/her burden of establishing by clear and
  3           convincing evidence that he/she is not likely to pose a danger to the safety
  4           of any other person or the community if released under 18 U.S.C.
  5           § 3142(b) or (c). This finding is based on the following:
  6           (X)   information in the Pretrial Services Report and Recommendation
  7           (X)   information in the violation petition and report(s)
  8           (X)   the defendant’s nonobjection to detention at this time
  9           ()    other:
 10
 11 IT THEREFORE IS ORDERED that the defendant be detained pending the further
 12 revocation proceedings.
 13
 14 Dated: January 11, 2021                _____________ ___________
                                              KENLY KIYA KATO
 15                                             United States Magistrate Judge
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